            Case:18-18945-TBM Doc#:1 Filed:10/12/18                                      Entered:10/12/18 17:48:28 Page1 of 4


Fill in this information to identify your case:

United States Bankruptcy Court for the :

DISTRICT OF COLORADO, DENVER DIVISION

Case number(ifknown}       ___________                           ____ Chapter             11
                                                                                                                            D Check if this an amended
                                                                                                                              filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                               4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (If known). For
more Information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Cardel Master Builder, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal Employer
     Identification N umber    XX-XXXXXXX
     (EIN)


4.   Debtor's address              Principal place of business                                     Mailing address, If different from principal place of
                                                                                                   business

                                  9110 E Nichols Ave Ste 120
                                  Centennlal, CO 80112-3451
                                  Number, Street, City, State & ZIP Code                           P.O. Box, Number, Street, City, State & ZIP Code

                                   Arapahoe                                                        Location of principal assets, if different from principal
                                   County                                                          place of business

                                                                                                   9110 E Nichols Ave Ste 120Centennial, CO
                                                                                                   80112-3451
                                                                                                   Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                ■   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   D Partnership (excluding LLP)
                                   D Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 1
Case:18-18945-TBM Doc#:1 Filed:10/12/18    Entered:10/12/18 17:48:28 Page2 of 4




                       Cardel Clocktower Limited Partnership              Affiliate
                       Colorado                10/12/18
Case:18-18945-TBM Doc#:1 Filed:10/12/18   Entered:10/12/18 17:48:28 Page3 of 4
Case:18-18945-TBM Doc#:1 Filed:10/12/18   Entered:10/12/18 17:48:28 Page4 of 4
